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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

         Civil Action No. 1:17-cv-00308-KMT

         ERYN R. MEGNA,
         ROBERT V. MEGNA, and
         BACKSTREET BISTRO, LLC

                 Plaintiffs,

         v.


         LITTLE SWITZERLAND OF AMERICA CANDY FACTORY, INC.,
         KRISTINE M. ULLEMEYER, and
         HAYES ULLEMEYER

                 Defendants.


                UNOPPOSED MOTION TO CONTINUE SCHEDULING CONFERENCE
                                SET FOR APRIL 4, 2018


         Defendants LITTLE SWITZERLAND OF AMERICA CANDY FACTORY, INC.,

  KRISTINE M. ULLEMEYER, AND HAYES ULLEMEYER, through their attorney, ROGER F.

  SAGAL, of SAGAL LAW, LLC, respectfully submit this unopposed motion to continue the

  Scheduling Conference set for April 4, 2018. (Doc 32).

                      CERTIFICATION PURSUANT TO D.C.COLO.LCiv R 7.1A

         Undersigned counsel certifies that on March 15, 2018, counsel for the parties conferred

  about the relief requested herein. Counsel for Plaintiff does not object to the relief requested and

  states he is available for a status conference on either April 27 or April 30, 2018.

         1.      April 4, 2018 falls during Spring Break week for Defendants’ counsel. Counsel

  has a previously scheduled trip that week with family and respectfully seeks an alternative date

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  for the Scheduling Conference. Although it is counsel’s understanding that his participation via

  telephone would be permissible if sought by motion, counsel prefers to appear in person for the

  Scheduling Conference if at all possible.

         2.      Counsel seeks a continuance of the conference until April 27 or 28, which dates

  are satisfactory to Plaintiffs and which dates counsel for Defendants was scheduled to be

  traveling to the Front Range in any event. If the suggested dates are not convenient to the Court,

  counsel seeks a continuance or change of date to any date convenient to the Court outside the

  week of April 4.

         Dated this 16th day of March 2018.

                                       /s/ Roger F. Sagal
                                       Roger F. Sagal
                                       Sagal Law, LLC
                                       PO BOX 1168
                                       241 S. Elizabeth Street
                                       Ridgway, CO 81432
                                       Telephone: (970) 626-5891
                                       FAX: (970) 512-7746
                                       E-mail: roger@sagalgroup.com

                                       Attorney for Defendants


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 16th day of March 2018 a true and correct copy of the
  above and foregoing UNOPPOSED MOTION TO CONTINUE SCHEDULING
  CONFERENCE was electronically filed with the Clerk of Court via CM/ECF and served on the
  following:

  Julian G.G. Wolfson
  The Law Office of Julian G.G. Wolfson, LLC
  jwolfsonlaw@gmail.com



                                                      Anita D. Posey

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